






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-08-245 CR


____________________



JOSE RODRIGUEZ, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 88110






MEMORANDUM OPINION


	We have before the Court a request from the appellant, Jose Rodriguez, to dismiss his
appeal.  See Tex. R. App. P. 42.2.  A request to dismiss the appeal is signed by appellant
personally and joined by counsel of record.  No opinion has issued in this appeal.  The
motion is granted, and the appeal is therefore dismissed. 

	APPEAL DISMISSED.                                                                                 
                                                                                                                          
                                                                __________________________________

                                                                               CHARLES KREGER

                                                                                          Justice

Opinion Delivered September 10, 2008

Do not publish

Before McKeithen, C.J., Gaultney and Kreger, JJ.


